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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

    v.                                               Case No. 22-cr-408

 EDWARD KELLEY,

      Defendant.

     UNITED STATES’ CONSENT MOTION TO DISMISS INDICTMENT WITH
   PREJUDICE PURSUANT TO FEDERAL RULE CRIMINAL PROCEDURE 48(a)

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this motion.

         Pursuant to Federal Rule of Criminal Procedure 48(a), the government hereby moves to

dismiss the Indictment in Case No. 22-cr-408 against the defendant with prejudice. The

government cites to the Executive Order dated January 20, 2025, Granting Pardons and

Commutation of Sentences for Certain Offenses Relating to the Events at Or Near the United States

Capitol on January 6, 2021, as the reason for this dismissal. The defense consents to the instant

motion.

                                                       Respectfully submitted,

                                                       EDWARD R. MARTIN, JR.
                                                       United States Attorney
                                                       D.C. Bar No. 481866

                                              By:      /s/ Sarah Martin
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